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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAO S. MANDALAPU, M.D.

Plaintiff CIVIL ACTION
Vv. CASE NO. 2:15-cv-05977-JP
TEMPLE UNIVERSITY HOSPITAL, Document Electronically Filed
INC., et al.

Defendants

ORDER
AND NOW, this day of , 2017, upon

 

consideration of the Defendants’ Motion to Quash, and the responses thereto, it is hereby

ORDERED that:

1. The Court treats Defendants’ Motion to Quash as a Motion
for Protective Order under FRCP 26(c) and grants the
Motion. Defendants need not produce documents in their
possession that would be within the scope of the subpoena
on the Accreditation Council for Graduate Medical
Education, as the documents are outside the temporal
bounds of discovery.

2: Defendants’ Motion to Quash is GRANTED, as, contrary
to Rule 45, Plaintiff has failed to first seek discovery from
Defendants of the same documents responsive to the
subpoena on the Accreditation Council for Graduate
Medical Education.
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BY THE COURT:

 

JOHN R. PADOVA
SENIOR JUDGE
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAO S. MANDALAPU, M.D.

Plaintiff CIVIL ACTION
Vv. CASE NO. 2:15-cev-05977-JP
TEMPLE UNIVERSITY HOSPITAL, Document Filed Electronically
INC.,, et al.

Defendants

MEMORANDUM OF SUBPOENA-RESPONDENT ACCREDITATION COUNCIL FOR
GRADUATE MEDICAL EDUCATION IN RESPONSE TO

DEFENDANT’S MOTION TO QUASH

Plaintiff served Subpoena-Respondent Accreditation Council for Graduate Medical
Education (ACGME) with an initial subpoena in this matter on or about August 14, 2017. In
response, ACGME sent plaintiffs counsel a letter of August 29, 2017. See Exhibit 2 to the
Memorandum of Law in Support of Defendants’ Motion to Quash (Defendant’s Memorandum).
On September 1, 2017, plaintiff withdrew the initial subpoena and replaced it with a second
subpoena (providing for production in Chicago, Illinois), as to which ACGME reserved all its
initially stated objections. See, Exhibits 1, 2 and 3 to Defendant’s Memorandum. (Defendant
Temple University Hospital’s Exhibits 1 through 6 are, for the Court’s convenience, attached to
this Memorandum.)

Temple University Hospital has filed a Motion to Quash the second subpoena in this

Court. This Memorandum responds to that motion and the accompanying Memorandum.
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ACGME
ACGME is a not for profit corporation, headquartered in Chicago, Illinois, that accredits
medical residency programs in the United States, including the Temple University Hospital

residency program in urology.

Requested Documents
Documents requested by the second subpoena are:

1. Any and all the complaints, against the Temple University Hospital urology residency
program and/or Dr. Jack H. Mydlo, Dr. Robert E. Greenburg, Dr. David Y.T. Chen,
regarding discrimination, retaliation or harassment by any resident or participant in a
residency program conducted by Temple University Hospital.

See, Exhibit 1, Defendant’s Memorandum.

ACGME possesses one “complaint” responsive to the second subpoena, ! i.e., an October
11, 2016 letter from ACGME submitting a complaint to Temple University Hospital, which

complaint was based on information previously submitted to ACGME by the complainant.” ?

 

* In response to the initial subpoena, ACGME committed to producing documents that had been submitted by Dr.
Mandalapu to ACGME complaining about the Temple University Hospital residency program in urology, and by
ACGME to Dr. Mandalapu relating to same. See, August 29, 2017 letter to Mr. Downey, page 5 (Exhibit 2 to
Defendant’s Memorandum). After withdrawal of the initial subpoena and issuance of the second subpoena,
ACGME produced those documents as ACGME001-ACGME0012. See, email of September 29, 2017 to Mr.
Downey (Exhibit 4 to Defendant’s Memorandum).
? ACGME had policies relating to “complaints” and to “concerns.”
The ACGME has two mechanisms for individuals and/or groups to raise issues related to programs or
sponsoring institutions: submission of complaints, and reporting of concerns. The ACGME addresses
issues related to compliance with accreditation standards of programs and sponsoring institutions through
its complaint process. In addition, individuals may raise issues that may not rise to the level of non-
compliance with ACGME standards through the ACGME concerns process.
Individuals with issues regarding the performance of residency programs or sponsors initiate the process of
investigation of their issues by contacting the ACGME’s Office of Resident Services. A mutually agreeable
path of filing a formal complaint or use of the less formal concern process will be determined through
discussion between the individual(s) and the Office of Resident Services.
The ACGME requires that sponsoring institutions and programs provide an educational and work
environment in which residents may raise and resolve issues without fear of intimidation or retaliation.
Sponsoring institutions and their programs that are accredited by the ACGME are expected to comply with
the ACGME’s Institutional and Program Requirements. The ACGME and its Review Committees address
only matters regarding compliance with ACGME accreditation requirements. The ACGME will investigate
potential non-compliance with accreditation standards that relate to program quality. The ACGME does not
adjudicate disputes between individual persons and residency programs or sponsoring institutions regarding
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Like most educational accrediting agencies, ACGME maintains and follows policies
addressing receipt of complaints relating to accredited programs, submitting the complaint to the
accredited program, requesting a response to the complaint from the program, and ultimately
determining whether the substance of the complaint requires a change in the accreditation status
of the program.’ ° The October 11, 2016 letter was submitted as part of that complaint process.

Per Sections 7.40° and 23.11’ of its policies, the October 11, 2016 letter and the identity

of the complainant are maintained as confidential by ACGME.

 

matters of admission, appointment, contract, credit, discrimination, promotion, or dismissal of faculty,
residents, or fellows.
Section 23.10, ACGME Policies and Procedures (Effective June 13, 2015). It is relatively common for ACGME to
receive information from individuals, after which discussion ensues as to what course the person wishes to follow,
i.e., complaint or concern. Sometimes, as in this case, a resulting “complaint” takes the form of a letter to the
accredited program.
* Tn this document, references are made to ACGME policies effective June 13, 2015 through September 22, 2017.
ACGME policies currently in effect are available to the public in the ACGME website, www.acgme.org.
“ Section 23.10, ACGME Policies and Procedures (Effective June 13, 2015) — see, footnote 1.
* Section 23.13, ACGME Policies and Procedures (Effective June 13, 2015)
Submission of Complaints
Anyone having evidence of non-compliance with accreditation standards by a program or institution may
submit a complaint to the ACGME. Such complaints must be submitted in writing and bear the name and
address of the complainant(s). However, before a complaint is submitted, the complainant should utilize all
of the resources available in the program and sponsoring institution unless there is a valid reason for not
doing so. Allegations of non-compliance that occurred prior to the current and preceding residency year
should not be submitted.
* Section 7.40, ACGME Policies and Procedures (Effective June 13, 2015)
Confidentiality
The ACGME recognizes that adherence to confidentiality of the information acquired during the
accreditation process is vital to its operation. Intrinsic to accreditation is the promotion of candor within its
process, which may include constructive criticism that leads to improvement in the educational quality of a
program or institution. Maintaining confidentiality within the accreditation process promotes this candor.
Confidentiality means that the ACGME and its committees will not disclose the documents listed in this
Section nor the information contained therein, except as required for ACGME accreditation purposes, as
may be required legally, or as provided in Section 7.41. In order to meet the requirement of confidentiality,
the ACGME holds as confidential the following documents and the information contained therein:
a. institutional and program files, including without limitation: institutional review and clinical learning
environment review information; program information; program and institution accreditation history; site
visit reports; progress reports; Case Log data; survey data; and records of committee consideration;
b. appeals files;
c. additional documents and correspondence recording accreditation actions and consideration thereof by
the ACGME; and,
d. personal resident physician information, and protected health information submitted to the ACGME.
A breach of confidentiality could result in irreparable damage to the Review Committees, the ACGME and
its mission, and the public, and may result in removal of a director, committee member, or ACGME
employee.
” Section 23.11, ACGME Policies and Procedures (Effective June 13, 2015)
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As the complainant did not waive his/her right to confidentiality, ACGME did not reveal
his/her identity to Temple University Hospital in the letter.® Pursuant to its complaint policy,’
ACGME submitted the substance of the complaint to Temple University Hospital (as opposed to
the underlying information and documents received by ACGME from the complainant) without
revealing the identity of the complainant to Temple University Hospital.

ACGME does not know if either Temple University Hospital or plaintiff knows the
identity of the complainant.

ACGME Letter Response to Subpoena
In its letter of August 29, 2017 to plaintiff's counsel, ACGME stated (among other

things) that Rule 45 requires plaintiff to seek from defendant Temple University Hospital any of
the same documents that it is seeking through subpoena from ACGME.

After service of the second subpoena, and on suggestion of ACGME, plaintiff apparently
began to pursue discovery of duplicate documents from defendant Temple University Hospital.
See, Exhibit 4 to Defendant’s Memorandum. However, notwithstanding his attempt to obtain
these documents from the defendant, plaintiff continued to seek production from ACGME per
the second subpoena. See, Exhibit 5 to Defendant’s Memorandum. Plaintiff has not filed a
motion to compel production under Rule 45(d)(2)(B)(i) in the United States District Court for the

Northern District of Illinois (Chicago, Illinois).

 

Confidentiality of Individuals
The ACGME will take steps to keep the identity of any individual(s) reporting potential non-compliance
with requirements confidential, except when a complainant specifically waives the right to confidentiality.
However, if a complaint alleges failure of a program or institution to provide due process, the identity of
the complainant may be disclosed when a response to the allegation is requested from the program director
or institutional official. In addition, there may be the rare occurrence when the identity of the complainant
may be disclosed as necessary for the ACGME to provide due process to a program or institution appealing
an adverse accreditation action.

* In contrast, plaintiff did waive his right to confidentiality by issuing the initial subpoena, pursuant to which

ACGME produced to defendants the complaint documents submitted to ACGME by plaintiff.

* Section 23.1 1, ACGME Policies and Procedures.
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Motion to Quash — Rule 26

The Motion to Quash was filed in this Court where the action is pending rather than in
the Court for the district where compliance with the subpoena is required (United States District
Court for the Northern District of Illinois), as required by Rule 45(d)(3)(A).

ACGME suggests that this Court treat the Motion to Quash as a motion of defendant
Temple University Hospital for a protective order under Rule 26(c) relating to the October 11,
2016 letter which was sent by ACGME to defendant, and which defendant likely possesses. The
second subpoena has no time limitation for the requested discovery, and defendant Temple
University Hospital asserts that 2016 documents are outside the temporal bounds of discovery in
this action. ACGME has no position on these temporal bounds.

Considering the motion as a Rule 26 motion for a protective order would result in a
determination of the temporal bounds of discovery in this action by the Court in which the action
is pending, and which has familiarity with the subject matter and proceedings of the action,
including prior rulings, as well as with any state law that might be implicated in the action.

If the Court rules that the October 11, 2016 letter is outside the temporal bounds of
discovery or otherwise not discoverable in this matter, that should end any obligations that
ACGME may have under the second subpoena. If the Court rules that the October 11, 2016
letter is within the bounds of discovery in this matter, the document can be obtained from
Temple University Hospital, and that should end any obligations that ACGME may have under
the second subpoena.

Motion to Quash — Rule 45

If the Court should decide to consider the Motion to Quash substantively under Rule 45,
that motion should be granted because any attempt at enforcement of the subpoena by plaintiff

under Rule 45 would be premature. Insofar as the subpoena seeks documents also in possession
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of defendant Temple University Hospital, Rule 45(d)(1)!° requires plaintiff to seek production of

those documents from the defendant (including plaintiff's moving this Court for production

under Rule 37(a)) before burdening a non-party to the litigation with proceedings and potential

production relating to a subpoena for same. Plaintiff's failure to do so constitutes an undue

burden on non-party ACGME under Rule 45(d)(1).
Because Langford has not shown that he exhausted his efforts to seek production of these
materials from the defendant, the subpoena executed upon Gallup is quashed. (footnote
omitted) See, e.g., Echostar Commc'n Corp. v. New Corp. Ltd., 180 F.R.D. 391, 395 (D.
Colo. 1998) (finding that the plaintiff failed to demonstrate any need for the information
sought by subpoena from nonparties, that such materials were readily available from the
defendant, and that plaintiff could not begin to argue a "substantial need" for such
documents until it exhausted its efforts to seek production of those materials from the
defendant).

Langford v. Alegent Health, 2010 WL 2732876 (D. Neb. July 8, 2010).

If the material sought by subpoena is readily available. ..from a party to the action,
obtaining it through subpoena on a nonparty will often create undue burden.

Moore’s Federal Practice § 45.32 (Third Ed.).

If the Court should decide to consider the Motion to Quash substantively under Rule 45,
the motion should be granted for failure of plaintiff to seek duplicative documents from
defendant Temple University Hospital by moving the Court under Rule 37(a) in the pending
action before burdening non-party ACGME as described above.

WHEREFORE, Subpoena-Respondent Accreditation Council for Graduate Medical

Education respectfully requests that the Court treat Temple University Hospital’s Motion to

 

° Rule 45(d)(1), F.R.Civ.P.
(d) Protecting a Person Subject to a Subpoena; Enforcement.
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible for issuing and serving
a subpoena must take reasonable steps to avoid imposing undue burden or expense on a person subject to
the subpoena. The court for the district where compliance is required must enforce this duty and impose an
appropriate sanction — which may include lost earnings and reasonable attorney's fees — on a party or
attorney who fails to comply.
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Quash as a Motion for Protective Order under Rule 26(c) or, alternatively, grant defendant’s

Motion to Quash under Rule 45 (d)(1).

Dated: November 21, 2017

 

By: /s/ Stephen J. Imbriglia
Stephen J. Imbriglia

Gibbons P.C.

One Logan Square

130 North 18” Street

Suite 1210

Philadelphia, PA 19103
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Attorneys for Subpoena-Respondent
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(Admitted pro hac vice)

Counsel for Subpoena-Respondent
Accreditation Council for Graduate
Medical Education
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EXHIBIT 1
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Infonnation, or Objects or to Permit Inspection of Premises ina Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Pennsylvania

Rao S, Mandalapu, M.D.

 

Plaintiff

v. Civil Action No, 2-15-cv-05977-JP

Temple University Hospital, Inc. et al

 

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
Accreditation Council on Graduate Medical Education
To: Attn: Louise King, MS, Executive Director

Residency Review Committee for Urology515 N. State St, Ste. 2000, Chicago, IL 60654
(Name of person to whom this subpoena is directed)

v4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
SEE DOCUMENT REQUEST ATTACHED HERETO.

 

Place: LaSalle Process Servers, LP Date and Time:
105 W. Madison Steet, Ste. 1306 .
Chicago, IL 60602 October 1, 2017 5:00p.m.

 

 

 

C} Inspection of Premises: YOU ARE COMMANDED to pennit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached ~ Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT
OR
~2

Signature of Clerk or Deputy Clerk A ttorney 's signature”

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff, Rao S. Mandalapu, M.D, , who issues or requests this subpoena, are:

Mark D. Downey, 1910 Pacific Ave, Ste 15650, Dallas, TX 75204, mdowney@hakilp.com (214) 764-7279

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

 

 
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SCHEDULE “A”
DEFINITIONS
I. Document(s). The terms “document” or “documents” shall mean any written,

recorded, filmed, electronically stored information, or graphic matter, whether produced,
reproduced, or on paper, cards, tapes, film, electronic facsimile, computer storage devices, or any
other media, including, but not limited to, originals and all copies which are different in any way
from the original, whether by interlineation, receipt stamp, notation, indication of copies sent or
received, or otherwise, and drafts, which are in your possession, custody, or control, or in the
possession, custody, or control of its present or former agents, representatives, or attorneys, or any
and all persons acting on its behalf, including documents at any time in the possession, custody, or
control of such individuals or entities or known by you to exist. Examples include, but are not
limited to, computer disks, audiotapes, videotapes, memoranda, minutes, records, photographs,
videotapes, floppy disks, compact disks, facsimiles, correspondence, telegrams, diaries,
bookkeeping entries, financial statements, tax returns, checks, check stubs, reports, studies, charts,
graphs, statements, notebooks, handwritten notes, applications, agreements, books, pamphlets,
periodicals, appointment calendars, records and recordings of oral conversations, electronic mail,
business cards, and work papers. Without limitation of the term “control” as used above, a
document is deemed to be in your control if it has the right to secure the document or a copy
thereof from another person, or public or private entity that has actual possession thereof,

2. Mandalapu. The term “Mandalapu” refers to Plaintiff Rao S. Mandalapu, M.D.,

date of birth 04/18/1965,
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3. Temple University Hospital. The term “Temple University Hospital” refers to
Temple University Hospital, and all other affiliates, parent corporations, subsidiaries, executors,
and assigns of Temple University Hospital.

DOCUMENTS REQUESTED
I. Any and all the complaints, against the Temple University Hospital urology
residency program and/or Dr. Jack H. Mydlo, Dr. Richard E, Greenburg, Dr. David Y.T. Chen,
regarding discrimination, retaliation or harassment by any resident or participant in a residency

program conducted by Temple University Hospital.
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AO 88B (Rev, 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No, 2-15-cv-05977-JP

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ, P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

CO I served the subpoena by delivering a copy to the named person as follows:

 

 

On (date) ; or

 

1 I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

[ declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev, 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance,

(1) For a Trial, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regufarly
transacts business in person, ifthe person
(i) is a party or @ party’s officer; or
(if) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangibic things at 2 place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attomey
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earings and reasonable attomey’s fees—on a party or attorney who
fails to comply,

(2) Command to Produce Materials or Pernt Inspection,

(A) Appearance Not Required, A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections, A person commanded to produce documents ar tangible
things or to permit inspection may serve on the party or attomey designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
nay move the court for the district where compliance is required for an
order compelling production or inspection.

(il) These acts may be required only as directed in the order, and the
order must protect a person whi is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena,

(A) When Required, On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow 8 reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(ili) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject (o or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(il) disclosing an unretained expert's opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party,

(C) Specifying Conditions as an Alternative, In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated,

(e) Duties in Responding to 2 Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents, A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

{B) Form jor Praducing Electronically Stored Information Not Specified.
If'a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms,

{C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one fom,

(D) Inaccessible Electronically Stored Information, The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost, If that showing is
made, the court may nonetheless order discovery ffom such sources if the
requesting party shows good cause, considering the limitations of Rule
26(6)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
niaterial must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing informalion itself
privileged or protected, will enable the parties to assess the claim,

(B) Information Produced. Lf information produced in response to a
subpoena is subject to a claim of privilege or of protection ss
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it, After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim, The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoona materials, see Fed, R. Civ. P. 45(a) Committee Note (2013).

 

 
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EXHIBIT 2
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Douglas Carlson LLC
Attorney
330 North Wabash, Suite 3300
Chicago, Illinois 60611

August 29, 2017

VIA ELECTRONIC MAIL

 

Mr. Mark D. Downey
1910 Pacific Avenue, Suite 15650
Dallas, Texas 75201

Re: Mandalapu v. Temple University Hospital, Inc., et al., United States District
Court for the Eastern District of Pennsylvania, Civil Action No. 2-15-cv-
05977-JP

Subpoena on Accreditation Council for Graduate Medical Education

Mr. Downey:

On or about August 14, 2017, the Accreditation Council for Graduate Medical
Education (ACGME) received at its headquarters in Chicago, Illinois (401 North Michigan
Avenue, Suite 2000), a Subpoena to Produce Documents, Information or Objects or to Permit
Inspection of Premises in a Civil Action in the above captioned matter, returnable on
September 1, 2017 at 5:00 pm at LaSalle Process Servers, LP, 105 W. Madison Street, Suite
1306, Chicago, Illinois 60602. The subpoena was issued by plaintiff in the above captioned
matter.

The subpoena is addressed to “Accreditation Council on Graduate Medical
Education, Attn: Louise King, MS, Executive Director, Residency Review Committee for
Urology, 515 N. State St., Ste. 2000, Chicago, IL 60654. According to the subpoena, the
time period is unlimited.

ACGME is not a party to the lawsuit underlying the subpoena. This letter of written
objection to the subpoena is sent to you pursuant to Rule 45(c)(2)(B), Federal Rules of Civil
Procedure.

ACGME is a not for profit corporation organized under the laws of the State of
Illinois, and it is headquartered in Chicago, Illinois. According to the ACGME 2015/2016
Data Resource Book, ACGME accredits 9,977 programs in graduate medical education in the
United States, its territories and possessions. These include the “Temple University Hospital
Program” (ACGME Program No. 4804121132) sponsored by the Lewis Katz School of
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Medicine at Temple University, the current program director of which is Jack H. Mydlo, MD,
according to information submitted to ACGME by the program.

Documents within the scope of the subpoena are

(a) documents submitted by the plaintiff to ACGME or submitted by ACGME to
plaintiff relating to complaints by plaintiff against the Temple residency program;

(b) documents internal to ACGME relating to plaintiff's complaints against the
Temple residency program (including attorney-client privileged documents);

(c) electronic case log data submitted to ACGME by plaintiff while a resident
physician in the Temple residency program;

(d) electronic case log data submitted by plaintiff to ACGME while a resident
physician in an Ohio residency program;

(e) electronic resident survey responses submitted by plaintiff (ACGME could not
identify any response as attributable to plaintiff); and

(f) an electronic record addressing the status of plaintiff in the Temple residency
program and submitted to ACGME by the Temple residency program.

1, ACGME objects to the subpoena because compliance with the subpoena
would subject ACGME to undue burden in violation of Rule 45(c)(1), particularly insofar as
the plaintiff, who issued the subpoena, or Temple University Hospital and/or Dr. Mydlo,
parties to the underlying lawsuit, likely have, or have access to, most of the same documents
in the possession of ACGME (plaintiff — (a) above; Temple University Hospital and/or Dr.
Mydlo — (c), (d), and (f) above). See, Rules 45(c)(1) and 26(b)(2)(C), Federal Rules of Civil
Procedure. “If the material sought by subpoena is readily available ... from a party to the
action, obtaining it through subpoena on a nonparty will often create undue burden.”
Moore’s Federal Practice § 45.32 (Third Ed.).

2. ACGME objects to the subpoena because compliance with the subpoena
would subject ACGME to undue burden or cost in violation of Rules 45(c)(1) and
26(b)(2)(B), particularly insofar as requested information includes electronically stored
information, on backup media or otherwise, and not reasonably accessible because of undue
burden or cost. See, Rules 45(c)(1) and 26(b)(2)(B), Federal Rules of Civil Procedure.

3. ACGME objects to the subpoena because it requests information not
admissible at trial and not reasonably calculated to lead to the discovery of admissible
evidence, in violation of Rule 26(b)(1). See, Rule 26(b)(1), Federal Rules of Civil Procedure

4, ACGME objects to the subpoena because it “requires disclosure of privileged
or other protected matter” in violation of Rule 45(c)(3)(A)(iii). ACGME maintains the
information within the scope of the subpoena as confidential, and it objects to producing
documents responsive to the subpoena and maintained as confidential because the documents
are

(a) privileged under Rule 501 of the Federal Rules of Evidence;
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August 29, 2017

(b) __ privileged under the civil and criminal non-disclosure provisions of the Illinois
peer review/quality assurance statute, 735 ILCS 5/8-2101 et seq.; Niven v. Siquiera, 109 Ill.
2d 357 (1995);

(c) privileged under the federal common law doctrine of self-critical analysis;

(d) _— maintained as confidential under the ACGME confidentiality policy;

(e) attorney-client privileged; and

(f) maintained as confidential under HIPAA (case logs).

See, Rule 45(c)(3)(A)(iii), Federal Rules of Civil Procedure.

Moreover, protecting these documents from disclosure promotes and facilitates the
effectiveness of residency program accreditation, which in turn improves (1) the quality of
resident physician education, (2) the quality of care rendered to patients by resident
physicians, and (3) the quality of care rendered by resident physicians upon completion of the
residency program.

Rule 501 of the Federal Rules of Evidence permits a federal court to recognize
privileges under "the principals of the common law as they may be interpreted by the courts
of the United States in light of reason and experience." The United States Supreme Court has
stated that an evidentiary privilege should not be recognized or applied unless it "promotes
sufficiently important interests to outweigh the need for probative evidence." Jaffee v.
Redmond, 518 U.S. 1 (1996), citing Trammel v. United States, 445 U.S. 40 (1980).

The recognition and application of the privilege protecting documents created and
maintained during the ACGME accreditation process would, in fact, promote sufficiently
important interests to outweigh the need for probative evidence.

Intrinsic to private accreditation is the promotion of candor within its process, which
includes constructive criticism that leads to improvement in the educational quality of a
residency program. Maintaining confidentiality within the accreditation process promotes
candor. Personnel within residency programs are more forthright and candid because they
trust (a) that the information they disclose to ACGME during the accreditation process will
be used solely within that process and will not be otherwise disclosed, and (b) that the candid
evaluation sent by ACGME to the residency program for the purpose of fostering
improvement in the program will also not be disclosed outside the process. For the same
reasons, complainants are more forthright and candid.

As a non-government entity, ACGME has no power to compel residency programs
seeking accreditation to submit complete and accurate information, but must rely on
programs that apply for accreditation to provide information willingly. Assurance of
confidentiality allows programs and others to provide sensitive and sometimes proprietary
information without fear that it will be disclosed outside the accreditation process.

Disclosure of accreditation records outside the accreditation process would have a
"chilling effect" on ACGME's ability to receive full and frank information and would
ultimately reduce confidence in the quality assurance aspect of accreditation. Lack of access
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August 29, 2017

to full information (because it is not protected and confidential) would hinder the ability of
ACGME to do its job, which is to foster the provision of physician training consistent with
national standards.

The public relies on ACGME accreditation decisions and the ability of ACGME to
make those decisions. For example,

e By law, virtually all state medical licensing agencies (a) maintain as a
condition of physician licensure the completion of one or more years ina residency program
that is accredited by ACGME, and (b) grant training licenses to resident physicians who are

participating in residency programs that are accredited by the ACGME, and who have not yet
attained full medical licensure.

® By law, the Centers for Medicare & Medicaid Services makes Medicare

graduate medical education payments to institutions sponsoring residency programs that are
accredited by ACGME.

e The Educational Commission for Foreign Medical Graduates is authorized by
the United States Department of State to sponsor foreign national physicians as Exchange
Visitors in ACGME accredited residency programs.

e By law, many states and other government entities require completion of one
or more years of training in a residency program that is accredited by ACGME for eligibility
to serve in government or state regulated positions, i.e. county medical examiner, etc.

e Many professional medical certification organizations require completion of a
residency program accredited by ACGME as one qualification for certification.

° Many hospitals use the completion of all or part of a residency program
accredited by ACGME as one prerequisite to the grant of hospital privileges.

All of this evidences an overwhelming public interest in providing residency program
sponsors, complainants and ACGME with the necessary confidential context in which to
evaluate the quality of clinical training programs for our nation’s physicians.

ACGME’s confining its use and disclosure of the requested documents within its
accreditation process is intrinsic to that process and necessary to the maintenance of the
accreditation function of ACGME.

5. ACGME objects to the subpoena because compliance with the subpoena
would subject ACGME to undue burden in violation of Rule 45(c)(1), particularly insofar as,

(a) the parties to the underlying lawsuit likely have most of the same responsive
documents in the possession of ACGME;

(b) requested information includes electronically stored information, on backup
media or otherwise, and not reasonably accessible because of undue burden or cost;
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August 29, 2017

(c) requested information is privileged and confidential

(d) requested information (case logs) is maintained as confidential under HIPAA;

(e) protecting the privileged and confidential documents from disclosure
promotes and facilitates the effectiveness of residency program accreditation, which in turn
improves (i) the quality of resident physician education, (ii) the quality of care rendered to
patients by resident physicians, and (iii) the quality of care rendered by resident physicians
upon completion of the residency program;

(f) disclosure of the privileges and confidential accreditation records outside the
accreditation process would have a "chilling effect" on ACGME's ability to receive full and
frank information and would ultimately reduce confidence in the quality assurance aspect of
accreditation; and

(g) lack of access to full information (because it is not protected and confidential)
would hinder the ability of ACGME to do its job, which is to foster the provision of
physician training consistent with national standards.

See, Rules 45(c)(1) and 26(b)(2)(C), Federal Rules of Civil Procedure. See also,
Northwestern Memorial Hospital v. Ashcroft, 362 F.3d 923 (7th Cir. 2004).

6. The subpoena is issued by the plaintiff in the underlying lawsuit. ACGME
possesses documents submitted by plaintiff to ACGME and by ACGME to plaintiff. If
plaintiff does not already possess these documents, ACGME will produce these to plaintiff
and to the parties to the underlying lawsuit, as ACGME will consider plaintiff's issuance of a
subpoena as his waiver to produce these documents to the other parties to the lawsuit.

1 am available to discuss this subpoena at your convenience.

Very truly yours,
Douglas Carlson

Douglas Carlson LLC
Counsel for ACGME
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EXHIBIT 3
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Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 23 of 32

 

HUGHES « ARRELL « KINCHEN « LLP

ATTORNEYS AT LAW
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Dallas Office DIRECT PHONE: (214) 764-7279
1910 PACIFIC AVE, SUITE 15650 FACSIMILE: (713) 942-2266
DALLAS, TEXAS 75201

September 1, 2017
Via Email:
carlson@douglascarlsonlaw.com

Douglas R. Carlson
225 West Wacker Dr., Suite 3000
Chicago, IL 60606

Re: — Civil Action No. 2:15-cv-05977-JP; Rao S. Mandalapu, M.D. v. Temple
University Hospital, Inc. et al.

Dear Mr. Carlson,

We are withdrawing the subpoena issued and served on August 11, 2017. I did not review
closely enough the requested documents and failed to notice that the request was not changed to
what it should have requested, which should have been:

“Any and all the complaints, against the Temple University Hospital urology

residency program and/or Dr. Jack H. Mydlo, Dr. Richard E. Greenburg, Dr. David

Y.T. Chen, regarding discrimination, retaliation or harassment by any resident or

participant in a residency program conducted by Temple University Hospital.”

I would like to issue a new subpoena to the ACGME to reflect this corrected request.

Yours Truly,

HUGHES ARRELL KINCHEN, LLP
$a) ~~

Mark DoWney r

Cc: Michael Fortunato (via email)
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EXHIBIT 4
Case 2:15-cv-05977-JP Document 62 Filed 11/21/17 Page 25 of 32
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-------- Original message --------

From: Doug Carlson <carlson@dougcarlsonlaw.com>
Date: 9/29/17 12:46 PM (GMT-07:00)

To: Mark Downey <mdowney@hakllp.com>

Ce: "JRoberts@rubinfortunato.com™ <JRoberts@rubinfortunato.com>
Subject: Mandalapu Subpoena -

Mr. Downey,

Per our telephone discussion of Tuesday of this week, attached are ACGME001 — ACGME012 in partial
response to your subpoena.

Also per our discussion, ACGME received a complaint in 2016 from someone other than Dr.

Mandalapu. Temple University Hospital, a defendant in the underlying action, should have materials relating to
the complaint. During our discussion, I suggested that Rule 45, F.R.Civ.P. requires you to seek these materials
from Temple University Hospital before burdening a third party subpoena respondent (ACGME) with a
subpoena response. I understand that you are going to do that, and that you may or may not return to ACGME.

Although we did not discuss this, it is my understanding that objections raised by ACGME in its letter response
to your withdrawn subpoena remain applicable to the current subpoena, should you in fact return to ACGME.

Douglas Carlson
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Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 26 of 32

EXHIBIT 5
Case 2:15-cv-05977-JP Document 62 Filed 11/21/17 Page 27 of 32
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 27 of 32

Roberts, Jason K.

From: Mark Downey <mdowney@haklip.com>
Sent: Wednesday, October 25, 2017 5:18 PM
To: Doug Carlson

Cc: Roberts, Jason K.

Subject: Re: Mandalapu Subpoena -

Mr Carlson

We are going to need to get documents regarding the other complaint against Temple from you per our
subpoena.

Please provide at your earliest convenience.

Thank you.

MARK D. DOWNEY
Board Certified in Labor & Employment Law
By the Texas Board of Legal Specialization

HUGHES ARRELL KINCHEN, LLP

Direct: (214) 764-7279
Mobile: (214) 912-6746
Firm: (713) 942-2255

aooenna~ Original message --------

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Case 2:15-cv-05977-JP Document 62 Filed 11/21/17 Page 28 of 32

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Case 2:15-cv-05977-JP Document 62 Filed 11/21/17 Page 29 of 32
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 29 of 32

EXHIBIT 6
Case 2:15-cv-05977-JP Document 62 Filed 11/21/17 Page 30 of 32
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 30 of 32

Roberts, Jason K.

 

no
From: Roberts, Jason K.
Sent: Wednesday, October 25, 2017 5:39 PM
To: ‘Mark Downey’; Doug Carlson
Ce: Fortunato, Michael J.
Subject: RE: Mandalapu Subpoena -
Mark —

We are going to object to the relevancy of a 2016 complaint given that Dr. Mandalapu had been out of the program for
4 years at that point. Our discovery responses covered around the time Dr. Mandalapu was at Temple.

| am available to discuss.

Jason

Jason K. Roberts | Shareholder

Office: 610-408-2056 | Mobile: 862-207-1221

10 South Leopard Road | Paoli, PA 19301
JRoberts@rubinfortunato.com | www.RubinFortunato.com

Ka RubinFortunato

 
 

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Ce: Roberts, Jason K. <JRoberts@rubinfortunato.com>
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Mark D. DOWNEY
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Douglas Carlson
Case 2:15-cv-05977-JP Document 62 Filed 11/21/17 Page 32 of 32

CERTIFICATE OF SERVICE
I certify that on November 21, 2017, the foregoing Memorandum of Subpoena-
Respondent Accreditation Council for Graduate Medical Education in Response to Defendant’s
Motion to Quash was electronically filed with the Court and served upon the following via the

Court’s electronic filing system and overnight mail:

Michael J. Fortunato, Esquire
Rubin Fortunato & Harbison P.C.
10 South Leopard Road
Paoli, PA 19301
Tel. (610) 908-2005
Fax (610) 854-0392
Attorneys for Defendants

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Eamil: kz@zoldanassociates.com
Attorney for Plaintiff

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Dallas, TX 75201
Tel: (214) 764-7279

Email: mdowney@hakllp.com
Attorney for Plaintiff

GIBBONS P.C.

By: /s/ Stephen J. Imbriglia
Stephen J. Imbriglia
